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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                             CASE NO. 3:05cr25LAC

WARD FRANKLIN DEAN

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on November 30, 2005
Motion/Pleadings: MOTION TO INSPECT JURY SELECTION RECORDS PURSUANT TO
28 U.S.C. § 1867(a) and (f) AND BRIEF
Filed byDEFENDANT                         on 11/24/05     Doc.# 117
RESPONSES:
BY GOVT                                   on 11/29/05     Doc.# 120
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               /s//MaryMaloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                 AMENDED ORDER
Upon    consideration       of   the   foregoing,     it     is   ORDERED    this       1st   day    of
December, 2005, that:
(a) The relief requested is GRANTED.
(b) Defendant should contact Beatrice Spencer, United States District Court, 111
North    Adams    Street,    Tallahassee,      FL   32301,    850/521-3525,        to   arrange     the
inspection.       Any attendant costs shall be born by Defendant.                   In using these
records, Defendant shall be mindful of the constraints of the Privacy Act.                          See
5 U.S.C. § 552a; 28 U.S.C. § 1867(f).




Entered On Docket:                     By:                        s/L.A. Collier
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP                 LACEY A. COLLIER
Copies sent to:                                        United States District Judge




                                 Document No.
